       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 1 of 15



                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROLAND KING and HELEN KING,                   CIVIL ACTION
h/w,
                                              NO. 13-CV-06106-ER
                    Plaintiffs,
v.                                            MDL 875
                                              ASBESTOS CASE
GENERAL ELECTRIC COMPANY, et
al.,

                    Defendants.

                                        ORDER


      AND NOW, this ____ day of _________________, 2015, upon consideration of

Defendant General Electric Company’s Motion for Partial Reconsideration of the Order

(ECF Doc. 176) entered on March 9, 2015 denying in part General Electric’s motion for

summary judgment (“Reconsideration Motion”), and the responses thereto, it is hereby

ORDERED that General Electric’s Reconsideration Motion is GRANTED.

      It is further ORDERED that summary judgment is entered in favor of General

Electric Company as to all claims, including all cross claims, asserted against General

Electric Company in this case, and all claims, including all cross claims, against

General Electric Company in this case are DISMISSED with PREJUDICE.



                                                BY THE COURT:


                                                _________________________________
                                                Presiding Judge Eduardo C. Robreno
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 2 of 15



                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROLAND KING and HELEN KING,                CIVIL ACTION
h/w,
                                           NO. 13-CV-06106-ER
                   Plaintiffs,
v.                                         MDL 875
                                           ASBESTOS CASE
GENERAL ELECTRIC COMPANY, et
al.,

                   Defendants.

             DEFENDANT GENERAL ELECTRIC COMPANY’S
            MOTION FOR PARTIAL RECONSIDERATION OF THE
            ORDER (ECF DOC. 176) ENTERED ON MARCH 9, 2015

      Defendant General Electric Company moves, under Local Rule 7.1(g), for partial

reconsideration of the Order (ECF Doc. 176) entered on March 9, 2015 denying in part

General Electric’s motion for summary judgment (ECF Doc. 127) for the reasons set

forth in the accompanying memorandum of law.


                                              Respectfully submitted,

                                              McSHEA LAW FIRM, P.C.

                                               /s/ John P. McShea
                                              John P. McShea
                                              Clarissa Greenman Raspanti
                                              Pa. Identification Nos. 34562 & 54226
                                              Centre Square, West Tower
                                              1500 Market Street, Suite 4000
                                              Philadelphia, PA 19102-2100
                                              Tel. (215) 599-0800
                                              Fax (215) 599-0888
                                              jmcshea@mcshealawfirm.com

                                              Attorneys for Defendant
Dated: March 23, 2015                         General Electric Company
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 3 of 15



                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROLAND KING and HELEN KING,                      CIVIL ACTION
h/w,
                                                 NO. 13-CV-06106-ER
                      Plaintiffs,
v.                                               MDL 875
                                                 ASBESTOS CASE
GENERAL ELECTRIC COMPANY, et
al.,

                      Defendants.

          DEFENDANT GENERAL ELECTRIC COMPANY’S BRIEF IN
        SUPPORT OF ITS MOTION FOR PARTIAL RECONSIDERATION
         OF THE ORDER (ECF DOC. 176) ENTERED ON MARCH 9, 2015

I.     INTRODUCTION

       Defendant General Electric Company (“General Electric”) moves for partial

reconsideration of the Order (ECF Doc. 176) entered on March 9, 2015 denying in part

its motion for summary judgment (ECF Doc. 127) in this asbestos personal injury action

brought by plaintiffs Roland King and his wife Helen King (“Plaintiffs”). The Court granted

General Electric’s motion for summary judgment as to Plaintiffs’ product liability claims after

determining that there is no evidence that Mr. King was exposed to asbestos from a product

manufactured or supplied by General Electric (ECF Doc. 176 at 7). But the Court denied

General Electric’s motion as to Plaintiffs’ common law negligence claims, finding that General

Electric employees performed and supervised work removing and disturbing asbestos-

containing insulation in Mr. King’s presence without warning Mr. King about the

hazards of this asbestos dust (id.at 7-8). However, in reaching its decision denying on

the negligence claims, the Court credited plaintiff’s testimony that the insulation

contained asbestos even though there is no evidence to support this conclusion,
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 4 of 15



apparently ignoring General Electric’s evidentiary arguments that Mr. King lacked the

requisite personal knowledge to support his testimony or qualifications to offer opinion

testimony.

      Simply put, there is no competent or admissible evidence in the record that the

insulation the purported General Electric employees allegedly removed and disturbed

when they allegedly performed and supervised work in Mr. King’s presence (“the

turbine insulation at issue”) contained asbestos. Mr. King, the sole product

identification witness in this case, lacked the required personal knowledge of the

content of the turbine insulation at issue. Rather, as General Electric argued, Mr. King

just speculated that the turbine insulation at issue, which he referred to sometimes as

“lagging,” contained asbestos based solely on his belief that the lagging material looked

to be the same material as the covering on pipes. And as to the content of the pipe

covering material, he merely testified that material displayed undefined “stenciling”

that suggested to him—with no explanation why—that the pipe covering material

contained asbestos.

      Federal Rule of Civil Procedure 56 requires that plaintiff base his opposition to a

summary judgment motion on admissible evidence. Mr. King’s “evidence” that

material handled by General Electric employees contained asbestos is based solely on a

suggestion by his counsel that the material “looked like” pipe covering that he also

assumed contained asbestos based on nondescript stenciling. The Federal Rules of

Evidence require that a witness have “personal knowledge of the matter” to which he

testifies. Fed. R. Civ. P. 602. Additionally, under Federal Rule of Evidence 701, Mr.

King, a lay witness, lacks a proper basis to opine that the material he claimed the



                                            2
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 5 of 15



General Electric employees handled in his presence contained asbestos. In its Order

denying General Electric’s motion, the Court did not address General Electric’s arguments

concerning the evidentiary shortcomings of Plaintiffs’ negligence claim. And it

apparently credited the pure supposition of Mr. King in adopting his counsel’s improper

suggestion that the material contained asbestos. Accordingly, reconsideration of the

Court’s Order is warranted to correct a clear error of law or to prevent a manifest injustice

to General Electric.

II.    BACKGROUND

       A.     Relevant Procedural History

       The parties filed the following documents under the Court’s March 26, 2014

Amended Scheduling Order (ECF Doc. 69). General Electric filed its motion for

summary judgment on November 3, 2014 (ECF Doc. 127). A copy of General

Electric’s Motion is attached as Exhibit A. Plaintiffs filed their Response to General

Electric’s Motion entitled “Response to Motion for Summary Judgment of General

Electric and Suggestion of Need to Remand” on December 3, 2014 (ECF Doc. 147). A

copy of Plaintiffs’ Response is attached as Exhibit B. General Electric filed its Reply

Memorandum of Law in Support of its Motion for Summary Judgment on December 17,

2014 (ECF Doc. 158). A copy of General Electric’s Reply is attached as Exhibit C.

       By Order entered on the docket on March 9, 2015, the Court granted in part and

denied in part General Electric’s Motion for Summary Judgment (ECF 176). A copy of

the Court’s Order is attached as Exhibit D. An excerpt of the docket report for this

case indicating the March 9, 2015 entry of the Order is attached as Exhibit E.




                                              3
         Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 6 of 15



         B.    Relevant Facts

         The background facts of this case are set forth in General Electric’s Motion for

Summary Judgment and Reply and are incorporated by reference herein. See Exs. A

and C.

         Mr. King’s work history at issue is January 1, 1965 through January 1, 1969

when he served aboard the U.S. Navy ships, the USS Saratoga and the USS Wasp. See

Exhibit A to General Electric’s Mot. for Sum. Judg. (Ex. A hereto), Compl. at ¶ 6 (Mr.

King’s work history) and ¶ 7 (alleged asbestos exposure).

         For both of those ships Mr. King testified: (1) they were built before he was first

on them; (2) he did not know their maintenance, overhaul, or repair history; (3) he did

not know which parts on the ships were original parts or replacement parts; and (4) he

did not know whether any replacement parts came from the original part manufacturer

or some other manufacturer. See Exhibit B to General Electric’s Mot. for Sum. Judg.

(Ex. A hereto), Mr. King’s 9/25/13 Dep. Tr. at 248:16-249:16. He had no role in

dealing with manufacturers or suppliers outside of the Navy and he never ordered

anything from General Electric. Id. at 254:6-14.

         Turbines were the only General Electric equipment on the USS Saratoga that Mr.

King remembered. Id. at 254:19-255:4; see also id. at 217:15-18. And the only

potential source of asbestos exposure that he may have had with respect to those

turbines was to their external insulation, which he called lagging, during the one or two

times that he left his regular boiler technician post and stood watch in the engine room.

Id. at 255:5-9 and 260:21-263:1.

         As to his service on the USS Wasp, he testified that his only potential exposure

to asbestos in connection with metal turbines on that ship was to external insulation

                                              4
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 7 of 15



during his work as a machinist mate. Id. at 286:3-288:11. However, he did not know

the supplier or manufacturer of the external insulation on those turbines or whether that

insulation had been replaced before his service onboard the ship. Id. at 288:12-289:1.

Other than this outside lagging, there was nothing on the turbines on the USS Wasp that

he believed was a source of his asbestos exposure. Id. at 289:6-11. Moreover, of the

four turbines present on the USS Wasp, he testified that he only saw one turbine repair

job during his entire tenure on that ship Id. at 290:4-23.

      Mr. King also testified that he did not know what company manufactured the

external insulation on any of the equipment present on the USS Saratoga and the USS

Wasp. Id. at 278:19-279:9 and 279:22-280:21.

      Mr. King speculated that the lagging contained asbestos based on “stenciling” on

the pipe covering material, but he never explained what the stenciling said. Then, when

prompted by his counsel, he opined that the lagging material “looked the same” as the

material covering pipes on the ships:

      Q. All right. Now, with respect to the lagging, I know you’ve talked about
      the pack -- the packing a little bit. But you’ve talked about covering on
      pipes, on pumps, on turbines. How did you know that material was
      asbestos? What told you that?

      MR. KATTNER: Objection; foundation.

      THE WITNESS: The stencils on the pipe.

      BY MR. PRESENT:
      Q. Okay. And did the material that was covering either turbines or pumps
      look the same as the material on -- on the pipes that you’re talking about?

      A. Yes.

See Excerpt of Mr. King’s 9/26/13 Dep. Tr. at 45:17-46:8 attached as part of Exhibit D

to Plaintiffs’ Response to General Electric’s Mot. for Sum. Judg. (Ex. B hereto),


                                            5
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 8 of 15



(emphasis added); see also Excerpt of Mr. King’s 11/20/07 Dep. Tr. at 221:2-22 (Mr.

King previously testified in 2007 that he thought the lagging present on the USS

Saratoga contained asbestos because it kept the “heat within the engine”—this is the

only reason he believed the lagging contained asbestos; he did not see any writing on

the lagging and never saw the boxes the lagging came in; and he did not know who

supplied the lagging), attached as part of Exhibit B to Plaintiffs’ Response to CBS’

Mot. for Sum. Judg. (ECF Doc. 151-1 at pg. 23), attached hereto as Exhibit F. There is

no other evidence in the record relating to the insulation Mr. King claims that General

Electric personnel handled in his presence.

III.   ARGUMENT

       A.      Standard of Review

       The purpose of a motion for reconsideration is to “correct manifest errors of law

or fact or to present newly discovered evidence.” Harsco Co. v. Zlotnicki, 779 F.2d

906, 909 (3d Cir. 1985), cert. denied, 476 U.S. 1171 (1986). Reconsideration is

appropriate if the party seeking reconsideration establishes: “(1) the existence of newly

available evidence; (2) an intervening change in the controlling law; or (3) a need to

correct a clear error of law or prevent manifest injustice.” Ehrheart v. Lifetime Brands,

Inc., 498 F. Supp. 2d 753, 756 (E.D. Pa. 2007) (citing Public Interest Research Group

of NJ v. Magnesium Elektron, 123 F.3d 111, 116-17 (3d Cir. 1997)); see also Local

Rule 7.1(g).




                                              6
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 9 of 15



      B.     Mr. King Is Barred From Testifying About Matters Upon Which He
             Has No Personal Knowledge, Including the Composition of the
             Turbine Insulation Material at Issue.

      The Federal Rules of Evidence require that a witness must be barred from

testifying where he has no personal knowledge about the matter. See Fed. R. Evid. 602

(Need for Personal Knowledge) (“A witness may testify to a matter only if evidence is

introduced sufficient to support a finding that the witness has personal knowledge of

the matter.”); U.S. Secs. and Exch. Comm’n v. Infinity Group Co., 212 F.3d 180, 198

(3d Cir. 2000) (same), cert. denied sub nom., Springer v. U.S. Secs. and Exch.

Comm’n., 532 U.S. 905 (2001).

      Here, Plaintiffs’ entire basis for stating the turbine insulation at issue contained

asbestos is premised on unreliable assumptions or impermissible subjective conclusions

or interpretations of Mr. King. See Relevant Facts Section B, supra; see also Ex. C,

General Electric’s Reply at 4-5 (raising the lack of personal knowledge issue). As such,

Mr. King has no personal knowledge of the composition of the external insulation he

links to purported General Electric employees.

      C.     A Lay Witness Mr. King is Precluded From Offering Opinion
             Testimony About the Asbestos Content of Insulation.

      Federal Rule of Evidence 701 governs the admissibility of opinion testimony by

lay witnesses and provides:

      If the witness is not testifying as an expert, the witness’ testimony in the
      form of opinions or inferences is limited to those opinions or inferences
      which are (a) rationally based on the perception of the witness, (b) helpful
      to a clear understanding of the witness’ testimony or the determination of
      a fact in issue, and (c) not based on scientific, technical, or other
      specialized knowledge within the scope of Rule 702.




                                            7
      Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 10 of 15



       Rule 701 codifies the requirement that a party not be allowed to sidestep the

requirements of Federal Rule of Evidence 702 to get specialized knowledge into court

without the reliability requirements and disclosure requirements of the Federal Rules of

Evidence and the Federal Rules of Civil Procedure. See F ED . R. E VID . 701 Advisory

Committee Notes to the 2000 Amendment (citing Asplundh Mfg. Div. v. Benton Harbor

Eng’g, 57 F.3d 1190 (3d Cir. 1995)); see also Rule 702 which provides:

       If scientific, technical, or other specialized knowledge will assist the trier
       of fact to understand the evidence or to determine a fact in issue, a
       witness qualified as an expert by knowledge, skill, experience, training, or
       education, may testify thereto in the form of an opinion or otherwise, if
       (1) the testimony is based upon sufficient facts or data, (2) the testimony
       is the product of reliable principles and methods, and (3) the witness has
       applied the principles and methods reliably to the facts of the case.

       Where the witness will be testifying on technical matters, as Mr. King will be

testifying in this case, courts are required to rigorously enforce the provisions of Rule

701, and ensure that the proferred testimony is rationally based on the perception of the

witness and grounded the experience or knowledge of the witness and not upon

assumptions, subjective conclusions or interpretations. See Asplundh, 57 F.3d at 1202;

accord Donlin v. Philips Lighting N. Am. Corp., 581 F.3d 73, 80-83 (3d Cir. 2009) (trial

court erred in failing to exclude witness’ testimony that “went beyond those easily

verifiable facts within her personal knowledge and instead required forward-looking

speculation for which she lacked the necessary training”). This is because there must

be a sufficient foundation for the proferred lay opinion testimony. See F ED . R. E VID .

Advisory Committee Notes to the 2000 Amendment (citing Lightening Lube, Inc. v.

Witco Corp., 4 F.3d 1153, 1175 (3d Cir. 1993) (interpreting Rule 701 to allow lay

opinion testimony only is a sufficient foundation for the testimony can be laid); accord



                                             8
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 11 of 15



Weston and Co., Inc. v. Bala Golf Club, No. 06-cv-4900, 2007 WL 4080889, at *8 (E.D.

Pa. Nov. 15, 2007) (Robreno, J.) (“Even if lay opinion testimony were accepted to

determine useful life, there is insufficient credible testimony upon which to base the

determination.”), aff’d in part and denied in part on other grounds, 391 F. App’x 152,

157 (3d Cir. 2010).

       Moreover, lay opinion testimony must be “rationally based on the perception of

the witness. . . [and] not based on scientific, technical or other specialized knowledge.”

Id., 2007 WL 4080889, at *4 (striking witness’ testimony as to “useful life” of various

items for purposes of interpreting a lease as it was neither an admissible lay opinion

under Rule 701 nor the opinion of a qualified expert under Rule 702).

       Whether the turbine insulation aboard the ships at issue contained asbestos

cannot be “rationally based on the perception” of Mr. King for several reasons. First,

the record does not disclose that he has any knowledge concerning the actual

composition of the turbine insulation at issue. Second, he did not testify that he saw

any markings on the turbine insulation at issue that it contained asbestos—he saw

“stenciling,” but he never identified what it said. Third, there is no evidence in the

record that Mr. King took part in the purchasing of this insulation. Finally, there is no

evidence in the record that the insulation has been analyzed for a determination of its

composition. 1 An analysis that requires scientific, technical, or specialized knowledge

of fiber composition falls within the scope of Rule 702. Mr. King is not a geologist,

chemist, or person with any scientific, technical, or even any specialized knowledge, in




1
      See Exhibit B to General Electric’s Mot. for Sum. Judg. (Ex. A hereto), Mr.
King’s 9/25/13 Dep. Tr. at 248:16-249:16 and 254:6-14.

                                             9
      Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 12 of 15



areas of fiber-composition analysis. 2 See Ex. C, General Electric’s Reply at 5 (raising

the Rule 701 issue).

       Accordingly, Rule 701 prevents Mr. King from providing a lay opinion as to

whether the alleged asbestos-containing turbine insulation at issue (which did not

contain any markings indicating it contained asbestos) actually contained asbestos.

       D.     Reconsideration of the Court’s Order on the Negligence Claim is
              Warranted Because the Court Did Not Address the Evidentiary Issues
              Concerning Lack of Personal Knowledge By Mr. King of the Asbestos
              Content of the Insulation at Issue or the Improper Lay Opinion
              Testimony of Mr. King.

       The Court’s Order on Plaintiffs’ negligence claim against General Electric

provides in pertinent part:

              There is evidence that Defendant’s employees performed and
       supervised work removing and disturbing asbestos-containing insulation
       in Mr. King’s presence. There is evidence that this work created
       respirable dust that Mr. King inhaled. There is evidence that Defendant’s
       employees did not warn Mr. King about the hazards of this asbestos dust.
       As a matter of law, Defendant owed Plaintiff a duty of reasonable care
       under the circumstances.

See Ex. D, Order (ECF Doc. 176) at 7 (emphasis added).

       However, the Court’s Order did not address the evidentiary issues raised by

General Electric, namely that Plaintiffs’ entire basis for stating the turbine insulation at

issue contained asbestos is premised on an unreliable speculation or impermissible
2
       Even if Mr. King does possess the requisite scientific, technical or specialized
knowledge required to testify as to fiber-composition of the turbine insulation at issue
insulation, which he clearly does not), he would have to be proferred as expert
witnesses under Rule 702 and the accompanying rules of civil procedure. Because
Plaintiffs have not proferred Mr. King as an expert in the area of fiber-composition
analysis, and did not serve General Electric with an expert report on this subject as
required by Federal Rule of Civil Procedure 26(a)(2)(B), they would be precluded from
submitting such expert testimony at this late stage of the litigation in any event . See
generally Proveris Scientific Corp. v. Innovasystems, Inc., 536 F.3d 1256, 1268 (Fed.
Cir. 2008) (witness testimony was properly excluded by trial judge because witness did
not submit a written expert report in compliance with Rule 26(a)(2)(B)).

                                             10
      Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 13 of 15



subjective conclusion of Mr. King in violation of Rule 602 and impermissible lay

opinion testimony of Mr. King in violation of Rule 701. Hence, there is no admissible

evidence in the record that the turbine insulation that Mr. King links with the purported

General Electric employees contained asbestos. Reconsideration of the Court’s Order

is, therefore, warranted to correct a clear error of law or to prevent a manifest injustice

to General Electric.

V.     CONCLUSION

       In sum, there is no competent or admissible evidence in the record that the

turbine insulation material the purported General Electric employees allegedly removed

and disturbed when they allegedly performed and supervised work in Mr. King’s

presence contained asbestos. Mr. King has no personal knowledge of the composition

of the insulation he links to General Electric employees and, as a lay witness, he lacks a

proper basis to opine that the material contained asbestos. He just speculated that the

insulation material contained asbestos, in part based on prompting by his counsel. The

Court, however, did not address General Electric’s arguments concerning the

evidentiary shortcomings of Plaintiffs’ negligence claim, apparently crediting the pure

supposition of Mr. King in adopting his counsel’s improper suggestion that the material

contained asbestos. Accordingly, reconsideration of the Court’s Order is warranted to

correct a clear error of law or to prevent a manifest injustice to General Electric and




                                             11
       Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 14 of 15



summary judgment should be granted in favor of General Electric and against the

Plaintiffs and all other parties in this case.



                                                      Respectfully submitted,

                                                      McSHEA LAW FIRM, P.C.

                                                       /s/ John P. McShea
                                                      John P. McShea
                                                      Clarissa Greenman Raspanti
                                                      Pa. Identification Nos. 34562 & 54226
                                                      Centre Square, West Tower
                                                      1500 Market Street, Suite 4000
                                                      Philadelphia, PA 19102-2100
                                                      Tel. (215) 599-0800
                                                      Fax (215) 599-0888
                                                      jmcshea@mcshealawfirm.com

                                                      Attorneys for Defendant
Dated: March 23, 2015                                 General Electric Company




                                                 12
      Case 2:13-cv-06106-GAM Document 179 Filed 03/23/15 Page 15 of 15



                             CERTIFICATE OF SERVICE


       I hereby certify that, on this 23rd day of March, 2015, I electronically filed the

foregoing Defendant General Electric Company’s Motion for Partial Reconsideration of

the Order (ECF Doc. 176) entered on March 9, 2015 and accompanying Memorandum

of Law with the Clerk of Court using the CM/ECF system, which will automatically

send email notification of such filing to all counsel of record.




                                                  /s/ John P. McShea
                                                 John P. McShea




                                            13
